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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                   :          Hon. Stanley R. Chesler
                                                      Crim. No. 09-501
             V.
                                                      CONTINUANCE ORDER
ROBINSON BORDANONTE,          et al.


             This matter having come before tIe Court on the joint

application of Ralph J.             Marra,     Jr.,    Acting United States Attorney

for the District of ew Jersey                  (by Leslie Faye Schwartz,

Assistant U.S.        Attorney)     ,    and defendants Robinson Bordamonte             (by

Raymond F.        Flood,   Esq.),       Kelvin Corbin,      (by Christopher Renfroe,

Esq.),    Leo Genese III       (by Pasquale F.           Giannetta,   EscT.,   Peter

Ventricelli        (by Michael Pedicini,          Esq.)    and Debora Medeiros

DaSilva    (by Joseph R.       Donahue,        Esq.)    for an order granting a

continuance of the proceedings in the above-captioned matter,                           and

each of the defendants being aware that he has a right to have

the matter brought to trial within 70 days of                      the date of his

appearance before a judicial officer of                    this court pursuant to

Title 18 of       the United States Code,              Section 3161(c) (1),    and as

the defendants have consented to an additional continuance,                         and

for good and sufficient cause shown,

             IT IS THE FINDING OF THIS COURT Ihat this action should

be continued for the following reasons:

             1.     Plea negotiations are currently in progress,                  and

both the United States and the defendants desire additional                        time
          U         Ft       H           Mi                Cl    C)       U)            C)
                    H-       C)                                                                    C)       Ft
          C)                             0                 CD    0        CD            0          Di       0
          H-        C)       C)          C)                Mi    C)       C)
          Ft        CD       CD
                                                                                        C)         Ft
                                                           CD    Ft    Ft               Ft         Ft       Mi
          CD                             U                 C)    H-    H-               H-         CD       H-
          Cl        C)                   CD                Cl    C)    0                C)         C)       C)
                    C)       rt          C)                Di    C)    C)               C)
          U)        Cl       U)          CD
                                                                                                            Di
                                                           C)    Di                     Di         C)    H
          Ft        CD       C)          C)                Ft    C)    H                C)         C)    H-
          Di        C)       0           U)                      C)    H                C)         C)    N
          Ft             C)        H     CD    H           H-    CD    C))         H    CD    H    CD
          CD        Ft             i—3                                                                   CD
                         U)              C)    -3     U)   C)          H                —          C)
          U)        U)   U)                           U)         0     —                           CD   U)
                    CD             H     H     H     U)    Di    C)    U)               Di         U)    H
          CTh             U        Cl)   —     (1)   U)          Ft   —            U)   C)         U)
          0      U)                                                                           U         CD
                          CD                         U)    U)    C    -            C)   Cl    CD   Di   Di
          Cl    U)        C)       U)    H     C)    C)    U)    CD    0)          C)         Mi   C)
          CD    CD        CD      U      CD    U)    U)    CD    H-   —            U)         CD        Dl
                 CD       C)       U)    CD   U      U)    CD   U)    —            C)         C)   -.   U)
                                                                                                                 Case 2:09-cr-00501-SRC




                 Cl       U)       j     CD   U)     -     Cl   U)                 Di        Cl
          U)    <         CD                                                                            C)
                                   U)    -“   U)                       Ft          C)        Di
          CD              C)                                                                            CD
                                  U)          U)     0           Ft    U)          Ft        C)         CD
          C)    H                 U)     Di   U      C)    Ft    U)    CD                    Ft
          Ft    C)        H              C)                C)   CD
                                                                                                        C)
                                                                                   Ft        U)         CD
          H-    H-       —        C)     Cl   Ft     Ft    H-          CD          0                    C)
          0     Di                U)          U)     U)    Di   U)     C)                    U)         Ft
          C)    H         H       U           Di     H-    H    CD     Cl          H         Di
                          C)
                                                                                                        U)
                                  U)          Ft     U)         U)     U)          H-        C)         —
          H     C)        CD      U)                            Ft                 Ft
          H     C)        CD
                                                                                             CD
                                  U)          Ft                       0           H
          CD    Ft       -        U           C)                H-
                                                                                                        C)
                                                                      Mi           CD        C)         U)
          H                                   H-j
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                                                                C)                           C)         H
          —     0         U)      Ft          Di                      Li.
                                                                Ft                 H         C)         C)
U         U)    Mi        U)      U)          H       ‘\        CD    C)           CD        U)
C)        —               Di      Di                                                                    U)
                                                                C)    U)                     CD
H-        —     H         H       Ft          H-
Ft
                                                                CD    Ft           0         C)         C)
          CD    CO        H                   C)                U)    H-           Mi        Ft         0
CD        —     —1                Ft                            Ft    C)                     CD         C)
Cl                       U)       U)          Ft     Cl         U)    CD           Ft                   H
                —        CD
                                                                                             Cl
                                  CD          U)     Di                        U)                       Cl
U)                                            H-                0     U)
                                                     <                         CD            Ft
Ft              U)       CD       U)          U)                Mi
Dl
                                                                      CD                     0          C)
                C)       C)       CD                 0                C)       U                        CD
Ft              C)       C)       C)          C)     Mi         Ft
CD                                                                    C)       C)            Ft         C)
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                U)       H        H-          Di                U)    CD       H-            U)
U)              C)       C)       0                                                                     Cl
                                              Ft     U)         CD    Cl       Ft            CD         CD
  U)            Di       Cl       Cl          Ft     CD                        CD                       C)
U.              C)       Di                   CD     U)         U)    U)                     Di
H               Ft
                                                                               Cl
                         U)       Mi          C)     Ft         C)    <                      Mi         Ft
U)’—)                    H        C)                 CD         U)             U)
FtU)
                                                                                             0          C)
                Ft       CD       0           H-     C)         H     U)       Ft            C)         H
C)U)            0                 C)          U)     U)         H-    C)       Di            CD         Di
H- U)                    H-                          CD         C)
C)C)
1                                                                     Di       Ft            C)         H
                H        C)       U)          U)     C)               C)       CD            CD
FtU)            H-                CD          C)                Di    Ft       U)
     U)         Ft       C)
                                                                                             C)         0
                                  U)          U)     H          C)    H-                     Ft         Mi
                H        ()       Ft          CD     C)         Cl    C)       C)            H-
C)              CD       C)       CD          Cl     CD               U)       0             0          Ft
Cl                       U)       C)          C)     CO         Ft             Cl            C)
U)              H        C)       U)          H                 U)    Ft       CD            CD         H
CD              0)       Ft       CD          CD                CU    U)       -             Cl         U)
                         H-       C)          Cl                      CD
                         C)
                         U)       CD
                                                                                                                 Page 2 of 2 PageID: 160
